

People v Vazquez (2019 NY Slip Op 02025)





People v Vazquez


2019 NY Slip Op 02025


Decided on March 15, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2019

PRESENT: WHALEN, P.J., SMITH, CENTRA, PERADOTTO, AND CARNI, JJ. (Filed Mar. 15, 2019.)


KA 15-01689.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vALFRED D. VAZQUEZ, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion to dismiss granted. Memorandum: The matter is remitted to Monroe County Court to vacate the judgment of conviction and dismiss the indictment either sua sponte or on application of either the District Attorney or the counsel for defendant (see People v Matteson , 75 NY2d 745 [1989]).








